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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION
UNITED STATES OF AMERICA, - CASE NO.: 2:18-cr-36
VS.

JONATHAN LAMAR MANET,
DEFENDANT.

MOTION TO SUPPRESS AND FOR RETURN OF PROPERTY
COMES NOW, Jonathan Lamar Manet, Defendant in the above-captioned
action, and moves this Court to Suppress as evidence any object, article, thing or other
evidence gained or thereafter gained by officers of the McIntosh County Sheriff's
Depariment or its agents, which were seized from the Defendant’s person and/or the
automobile in which he was a passenger, on or about July 3, 2017. In support of this

Motion the Defendant would show this Honorable Court the following:

1.

Defendant is a person “aggrieved by an unlawful search and seizure", as such

phrase is used in O.C.G.A. Section 17-5-30.
2.

The search of the person of the Defendant and/or the automobile in which the
Defendant was a passenger, on July 3, 2017, and the seizure of personal effects
therefrom was without a search warrant and was illegal. O.C.G.A. Section 17-5-
30(a)}{1).

3.
The search was not made incident to an arrest.

4.
The search was without probabie cause.
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5.

The search was without valid consent.

6.

The item(s) seized were not in plain view.

v.

Said search violated the provisions of O.C.G.A, Section 17-5-2, in that no
inventory was furnished to Defendant.

8,

Said search and seizures violated O.C.G.A. Section 17-5-1; O.C.G.A. Section
17-5-30(a)(1); Article 1, Section 1, Paragraph 13 of the Constitution of the State of
Georgia of 1983; and the Fourth and Fourteenth Amendments to the United States
Constitution.

WHEREFORE Defendant prays:

(a) That this Court sei a time and piace for a hearing on this Motion;

(b) That said hearing be set for a time with notice adequate for Defendant to
subpoena and produce witnesses on his behalf;

(c) That this Court suppress and order inadmissible against Defendant any item
seized in the above-described search; and,

(d) That this Court order the return of ail items of Defendant's personal property
seized from the Defendant's person and/or automobile.

This Ay day of February, 2079.

| Respectfully Submitted,

So TUCKER, oe P.C,

   

 

ALAN DAVID SCKER ESS. ee
Attorney for Defendant
Georgia Bar No. 717559

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION
UNITED STATES OF AMERICA, (CASE NO.: 2:18-CR-36-LGW

VS.
JOHNATHAN LAMAR MANET,
Defendant.
CERTIFICATE OF SERVICE
This is to certify that | have this day served ail parties in this case in
accordance with the directives from the Court Notice of Electronic Filing ("NEF")

which was generated as a result of electronic filing.

This 24th day of February, 2019

ALAN DAVID TUCKER, ESQ. P.C.
eo

By: Ge POG E te
Alan Davi er, Esq,’
Attorney for Defendant
Georgia Bar No. 717559

      
 

 
 
  

  

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